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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                                   )
IN RE: NEW ENGLAND COMPOUNDING                                     )
PHARMACY, INC. PRODUCTS LIABILITY                                  )
LITIGATION                                                         )
                                                                   )
This Document Relates to:                                          )
                                                                   )
1:14-cv-12905-RWZ: Epperly v. Insight Health Corp., et al.         )
1:14-cv-12908-RWZ: McFarlane v. Insight Health Corp., et al.       ) MDL No. 1:13-md-2419-RWZ
1:14-cv-12910-RWZ: Smith v. Insight Health Corp., et al.           )
1:14-cv-12916-RWZ: Kalinoski v. Insight Health Corp., et al.       )
1:14-cv-12917-RWZ: Filson v. Insight Health Corp., et al.          )
1:14-cv-12919-RWZ: Bradley v. Insight Health Corp., et al.         )
1:14-cv-12924-RWZ: Foutz v. Insight Health Corp., et al.           )
1:14-cv-12927-RWZ: Whitlow v. Insight Health Corp., et al.         )
1:14-cv-12928-RWZ: Harris v. Insight Health Corp., et al.          )
1:14-cv-12929-RWZ: Smith v. Insight Health Corp., et al.           )
                                                                   )

                           CORRECTED
 JOINT STIPULATION REGARDING THE EXTENSION OF CERTAIN DEADLINES

       Defendant Insight Health Corp. (“Insight”), by counsel, has conferred with counsel for

each of the plaintiffs in the ten (10) captioned cases (“Roanoke Gentry Locke Plaintiffs”), as well

as with counsel for Image Guided Pain Management, P.C.; Dr. John M. Mathis, M.D.; and Dr.

Robert R. O’Brien, M.D. (together, “IGPM”) regarding the extension of certain deadlines.

Together, these three groups represent all the parties to the above captioned cases.

       The parties are in the process of preparing for a mediation currently scheduled for

September 22 and 23, 2014. As a result, the Gentry Locke Plaintiffs and IGPM have agreed, in

accordance with Case Management Order No. 6 (specifically, paragraph D), that Insight need not

file any responsive pleadings or motions (including motions to strike) or otherwise respond to the

Amended Complaints or any cross claim filed in the above matters until thirty (30) days




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following the conclusion of the mediation at the earliest, or as further ordered by this Court upon

motion.

       Insight, the Roanoke Gentry Locke Plaintiffs, and IGPM respectfully request that the

Court enter the attached Order to formalize the above-described extension.




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Dated: August 12, 2014
Richmond, Virginia

Respectfully submitted,

/s/ Samuel T. Towell                                /s/ J. Scott Sexton______
Stephen D. Busch (admitted pro hac vice)            J. Scott Sexton
Christopher E. Trible (admitted pro hac vice)       H. David Gibson
Samuel T. Towell (admitted pro hac vice)            James J. O’Keeffe
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                                                    john.jessee@leclairryan.com
       CERTIFICATE OF SERVICE
                                                    Counsel for Image Guided Pain Management,
I, Samuel T. Towell, hereby certify that this       P.C; Dr. John M. Mathis, M.D.; and Dr.
document filed through the CM/ECF system            Robert F. O’Brien, M.D.
will be sent electronically to the registered
participants as identified on the Notice of
Electronic Filing and paper copies will be
sent to those indicated as non-registered
participants on August 13, 2014.

Dated: August 12, 2014 /s/ Samuel T. Towell
                       Samuel T. Towell
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